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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Joshi Living Trust, et al.
                                 Plaintiff,
v.                                                  Case No.: 1:18−cv−01713
                                                    Honorable Matthew F. Kennelly
Akorn, Inc., et al.
                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, October 30, 2018:


        MINUTE entry before the Honorable Matthew F. Kennelly: The parties' joint
motion for entry of an agreed order is granted, on the condition that the Court intends to
set a discovery schedule at the status hearing set for 11/8/2018. The Court orders as
follows: (1) Defendants Akorn, Inc., Rajat Rai, Duane A. Portwood, Alan Weinstein,
Ronald M. Johnson, and Brian Tambi shall file answers to counts 1 and 2 of plaintiffs'
amended complaint by no later than 12/19/2018. (2) Counts 3 and 4 of plaintiffs'
consolidated amended complaint are dismissed without prejudice. (3) Defendants John
Kapoor, Kenneth S. Abramowitz, Adrienne L. Graves, Steven J. Meyer, and Terry A.
Rappuhn are dismissed from this action without prejudice. (4) Defendant Mark M.
Silverberg is dismissed from this action with prejudice. (mk)




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